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                                       #:3503


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13                          UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
                                     WESTERN DIVISION
15   ALEJANDRO RODRIGUEZ, et al., | No. cv 07-3239-TJH (RNBx)
                                             |
16                                           | RESPONDENTS’
                  Plaintiffs,                |
17                                           | (1) EX PARTE APPLICATION FOR
                                             | THE ENTRY OF AN EMERGENCY
18          vs.                              | STAY OF THE PRELIMINARY
                                             | INJUNCTION;
19                                           |
     TIMOTHY S. ROBBINS, in his              | (2) MEMORANDUM AND POINTS OF
20   capacity as U.S. Immigration and        | AUTHORITIES IN SUPPORT OF EX
     Custom Enforcement, Los Angeles         | PARTE APPLICATION;
21   District Field Office Director, et al., |
                                             | (3) DECLARATION OF THOMAS Y.K.
22                                           | FONG;
                  Defendants.                |
23                                           | (4) DECLARATION OF ERIC
                                             | SALDANA;
24                                           |
                                             | (5) DECLARATION OF EREZ
25                                             REUVENI;
26                                              (6) DECLARATION OF THEODORE
                                                W. ATKINSON; AND
27
                                                (7) PROPOSED ORDER
28                                              Hon. Terry J. Hatter, Jr.
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 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         Pursuant to Local Rule 7-19, the above-captioned Respondents hereby apply ex
 3   parte for an order staying this Court’s September 13, 2012 Order (“Order”) pending
 4   an appeal by Respondents under 28 U.S.C. § 1292(a)(1). Specifically, Respondents
 5   seek a stay of the Order provisions requiring Respondents to provide all currently
 6   detained Section 1225(b) and Section 1226(c) sub-class members with bond hearings
 7   before immigration judges, under certain conditions set forth in the Order, within 30
 8   days of the Order. ECF # 255. In the alternative, defendants request that the Court
 9   grant an immediate stay of its injunction while the Court considers defendants’
10   application for a stay pending appeal. At a minimum, should the Court decline to
11   enter a stay pending appeal or an immediate stay to permit it to consider Respondents’
12   request for a stay pending appeal, Respondents request that the Court enter an
13   immediate stay to permit the Court of Appeals an opportunity to consider entry of a
14   stay. Respondents submit that cause exists to grant the relief requested herein
15   because, at a minimum, this case raises serious legal questions, and without the entry
16   of an order immediately staying the application of this Court’s judgment, Respondents
17   will be irreparably harmed before they can appeal this Court’s decision to the Ninth
18   Circuit. Accordingly, Respondents submit this ex parte application seeking
19   immediate relief from this Court.
20         Pursuant to Local Rule 7-19.1, on September 13, 2012, Respondents provided
21   notice of this ex parte application to counsel for Petitioners and inquired as to whether
22   Petitioners would oppose this motion. See Declaration of Theodore W. Atkinson, § 2.
23   Petitioners’ counsel has stated that Petitioners oppose Respondents’ application.
24
     Petitioner’s counsel’s name, address, telephone number and email address are as
25
     follows:
26
     AHILAN T. ARULANANTHAM
27   1313 West Eighth Street
     Los Angeles, California 90017
28
     Tel: (213) 977-5211
                                                 2
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 1   Fax: (213) 977-5297
 2   Email: aarulanantham@aclu-sc.org

 3         This application is based on this notice of ex parte application, the
 4   accompanying memorandum of points and authorities, and the accompanying
 5   Declarations of Thomas Y.K. Fong, Eric Saldana, Theodore W. Atkinson and Erez
 6   Reuveni. and the files and records in this case. A proposed order is hereby lodged.
 7   Dated: September 17, 2012              STUART F. DELERY
 8                                          Acting Assistant Attorney General
                                            Civil Division
 9                                          DAVID J. KLINE
10                                          Director, Office of Immigration Litigation
                                            District Court Section
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                                            THEODORE W. ATKINSON
13                                          Senior Litigation Counsel
14                                          /s/ Erez Reuveni
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 1                             CERTIFICATE OF SERVICE
 2
           I certify that on September 17, 2012, I served a copy of the foregoing and its
 3   attachments through the Court’s CM/ECF system on the following counsel of record:
 4
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20                                             /s/ Erez Reuveni
21                                             Erez Reuveni
                                               Trial Attorney
22                                             United States Department of Justice
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